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                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

ALLIANCE LAUNDRY
SYSTEMS LLC

v.                                             Case No.: 3:23cv22130/MCR/ZCB

TRUDY ADAMS, et al.

                             REFERRAL AND ORDER

Referred to Magistrate Judge Bolitho on              April 4, 2025
Type of Motion/Pleading: Motions to Seal
Filed by:    Plaintiff                   on 4/3/25            Docs.         174, 178, 183


                                         JESSICA LYUBLANOVITS, CLERK OF
                                         COURT
                                         /s/ Sylvia D. Williams
                                         Deputy Clerk: Sylvia D. Williams

                                     ORDER
          Upon consideration of the foregoing, it is ORDERED this 4th day of
     April 2025:
          In addition to an earlier motion to seal (Doc. 159), Plaintiff has since
          filed three additional motions to seal. (Docs. 174, 178, 183). It does not
          appear that Defendants have responded to the three additional motions.
          Defendants will be required to file an expedited response. Accordingly,
          Defendants must respond to Plaintiff’s motions to seal (Docs. 174, 178,
          183) on or before Friday, April 11, 2025.
                                      /s/ Zachary C. Bolitho
                                      Zachary C. Bolitho
                                      United States Magistrate Judge


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